  Case 10-72081                Doc 256           Filed 12/16/15 Entered 12/16/15 13:57:24                                    Desc Main
                                                  Document     Page 1 of 1



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